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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


    COMMSCOPE, INC. et al.,                            Civil Action No.
                  Plaintiff,                           19-15962 (JXN) (LDW)
    v.

    ROSENBERGER TECHNOLOGY                             ORDER
    KUNSHAN CO. LTD., et al.,

                 Defendants.


         The Court having considered the joint written submissions from the parties dated

  November 22, 2023 (ECF No. 562) and December 6, 2023 (ECF No. 566) concerning a multitude

  of discovery disputes; and the Court having heard oral argument on January 25, 2024; and having

  rendered rulings on the record concerning the same;

         IT IS, on this 26th day of January 2024, for the reasons set forth on the record:

         ORDERED that CommScope’s application to compel Rosenberger, at its own expense, to

  produce all CommScope design files taken by former CommScope/current Rosenberger

  employees Yang and Linfeng from CommScope, whether they reside on their Rosenberger-issued

  or personal devices, is hereby GRANTED; and it is further

         ORDERED that CommScope may depose Yang, Linfeng and/or a 30(b)(6) designee of

  defendants concerning the design files after their production; and it is further

         ORDERED that CommScope’s application to compel Rosenberger to produce documents

  connected to Rosenberger’s human resources investigation into, and disciplining employees for,

  misappropriating CommScope’s internal information is hereby GRANTED; and it is further
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          ORDERED that CommScope’s application to compel Rosenberger to produce a witness

  to testify regarding Rosenberger’s investigation, if any, into Rosenberger’s possession and use of

  CommScope’s Satimo Macro Generator software is hereby GRANTED; and it is further

          ORDERED that Rosenberger’s application to compel CommScope to produce documents

  related to the criminal hack perpetrated upon CommScope is hereby DENIED; and it is further

          ORDERED that Rosenberger’s application to take further deposition testimony of Mr.

  Bisiules is hereby GRANTED in the amount of one hour on the subjects referenced in the Court’s

  oral opinion; and it is further

          ORDERED that the parties shall meet and confer about Rosenberger’s application to

  compel CommScope to produce the “Powershell Script” to determine if this dispute can be

  resolved consensually; and if it cannot, the parties shall submit a concise supplemental joint

  submission regarding the issues referenced at oral argument, and therefore the Court hereby

  reserves decision on this issue pending further developments; and it is further

          ORDERED that the time to take an appeal from the foregoing rulings shall run from the

  date the transcript of the Court’s rulings is made available to the parties, provided the parties place

  an order for the transcript no later than one week from the date of this Order.



                                                     s/ Leda Dunn Wettre
                                                    Hon. Leda Dunn Wettre
                                                    United States Magistrate Judge
